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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS\
                                  HOUSTON DIVISION

IN RE:                                              §
                                                    §        CHAPTER 11
CHESAPEAKE ENERGY                                   §
CORPORATION, et al.,1                               §        CASE NO. 20-33233 (DRJ)
                                                    §
        Debtors.                                    §        (Jointly Administered)
                                                    §
                                                    §

     OBJECTION OF TORNADO VENTURE SEIS, LP, LLC TO CONFIRMATION OF
    THE SECOND AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION OF
       CHESAPEAKE ENERGY CORPORATION AND ITS DEBTOR AFFILIATES

        Tornado Venture Seis, LP (“Tornado Seis”) files its Limited Objection (“Objection”) to
Confirmation of the Second Amended Joint Chapter 11 Plan of Reorganization of Chesapeake
Energy Corporation and its Debtor Affiliates. In support of the Objection, the Tornado Entities
respectfully represent as follows:
        1.       On October 30th, 2020, the Debtors filed their Second Amended Joint Chapter 11
Plan of Reorganization of Chesapeake Energy Corporation and its Debtor Affiliates [Docket
#1644 and is hereinafter referred to as the “Second Amended Plan”].
        2.       As set forth in it proof of clams on file herein and assigned claim numbers 2701
and 2702 in the Chesapeake cases’ claim register, Tornado Seis holds royalty underpayment and
related claims against Chesapeake Exploration, L.L.C. and Chesapeake Operating, L.L.C. pursuant
to provisions of two oil and gas leases relating to real property in La Salle County in Texas (the
“Oil and Gas Leases”).
        3.       Article IV, Section T of the Second Amended Plan provides:
Notwithstanding any other provision in the Plan, on and after the Effective Date, all Royalty and
Working Interests shall be preserved and remain in full force and effect in accordance with the
terms of the granting instruments or other governing documents applicable to such Royalty and
Working Interests, and no Royalty and Working Interests shall be compromised or discharged by

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  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake Energy
Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is 6100 North
Western Avenue, Oklahoma City, Oklahoma 73118.

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the Plan. For the avoidance of doubt and notwithstanding anything to the contrary in the preceding
sentence, any prepetition or post-petition but pre-Effective Date right to payment arising from a
Royalty and Working Interest asserted by a non-Debtor as a prepetition Claim or Administrative
Claim, respectively, if any, shall be treated as a Claim under this Plan and shall be subject to any
discharge and/or release provided in the Plan without prejudice to any rights to assert a Claim or
dispute which may arise post-Effective Date on account of or relating to an unexpired or
unterminated Royalty and Working Interest.
       4.      Notwithstanding the foregoing provision, Tornado Seis, to the extent necessary,
objects to the Second Amended Plan to the extent that it seeks to alter any of Tornado Seis’s rights
and remedies under the Oil and Gas Leases (against Chesapeake Exploration, L.L.C., Chesapeake
Operating, L.L.C. or third parties) including its (a) ability to audit amounts charged to and/or paid
by Tornado Seis; (b) rights to terminate the Oil and Gas Leases; (c) right to require amounts in
dispute to be escrowed; and/or (d) without violating any provisions of a confirmed plan, seek
payments from the appropriate parties .
       5.      Furthermore, the Second Amended Plan defines certain “Releasing Parties,” which
shall include all Claim holders and Interest holders, provided, however, that an entity shall not be
a Releasing Party if it opts out of the releases contained in the Plan or timely files an objection to
the releases. Tornado Seis hereby provides notice that it has elected to opt out of the releases
contained in the Second Amended Plan and that it objects to being included in the “Releasing
Parties” as defined in the Second Amended Plan.
       6.      Nothing in this Objection is intended to be, or should be construed as, a waiver by
Tornado Seis of any of its rights under any contracts which are the subject of the Plan, the
Bankruptcy Code or applicable law. Tornado Seis expressly reserves all such rights including,
without limitation, the right to: (a) supplement and/or amend this Objection and to assert any
additional objections with respect to the Oil and Gas Leases and/or (b) assert any further objections
with respect to the relief requested that may subsequently be sought by the Debtors and/or any
other party, as such requested relief relates any contracts which are the subject of the Plan and/or
interests of Tornado Seis.
       7.      Tornado Seis joins in any objections filed by other creditors or parties-in-interest
to the extent they are not inconsistent with this Objection.
       WHEREFORE, Tornado Venture Seis, LP objects to the confirmation of the Plan as set


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forth above and pray that they be granted relief as set forth above and for all such other relief to
which they may entitled.
       Respectfully submitted on this 7th day of December 2020.

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                                                     By: /s/William B. Kingman
                                                     William B. Kingman, State Bar No. 11476200
                                                     Attorney for Tornado Venture Quatro, LLC
                                                     and Tornado Venture Cinco, LLC




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                                 CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing was served, in accordance
with the Federal Rules of Bankruptcy Procedure, via email upon the parties that receive electronic
notice in this case pursuant to the Court’s ECF filing system on December 7 th, 2020 including the
following parties:

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                                                    /s/ William B. Kingman
                                                    William B. Kingman




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